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                            UNITED STATES DISTRICT COURT
                                        WESTERN DISTRICT OF TEXAS
                                             WACO DIVISION

UNITED STATES OF AMERICA                                       §
      Plaintiff                                                §
                                                               §
vs.                                                            §       Case Number: WA:20-M -00707(1)
                                                               §
(1) RICARDO VALENTINO BERRY II                                 §
      Defendant

                                       JUDGMENT IN A CRIMINAL CASE
                                (For Offenses Committed On or After November 1, 1987)



         The defendant, (1) RICARDO VALENTINO BERRY II, appeared with counsel, Gregory Keith Simmons.

          The defendant pled guilty to Count 1 of the Information on 01/08/2021. Accordingly, the defendant is adjudged
guilty of such Count, involving the following offense:

                                                                                                                   Count
Title & Section                            Nature of Offense                  Date of Offense                      Number(s)

18 USC 7(3), 13 AND TTC 545.401            RECKLESS DRIVING                   01/07/2020                           1

          As pronounced on 01/08/2021, the defendant is sentenced as provided below. The sentence is imposed pursuant
to the Sentencing Reform Act of 1984.

         It is ordered that the defendant shall pay to the United States a special assessment of $5.00 and a fine of $150.00.
Said special assessment and fine shall be made to the Clerk, U.S. District Court, 800 Franklin Avenue, Room 380, Waco,
Texas 76701. Fine payments shall be made in 3 equal installments of $50.00 each. Payments are to begin immediately.

         It is further ordered that the defendant shall notify the United States Attorney for this district within 30 days of
any change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by
this Judgment are fully paid.


         Signed this the 14th day of January, 2021

                                                                              ______________________________
                                                                              JEFFREY C. MANSKE
                                                                              UNITED STATES MAGISTRATE JUDGE
